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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

JACQUELINE MILLER                             :

              Plaintiff,                      :       CASE NO. 2:21-cv-5147

       v.                                     :       JUDGE SARGUS

FRESH START BEHAVIORAL                        :       MAGISTRATE JUDGE JOLSON
 HEALTH, INC., et al.
                                              :
              Defendant.

 JOINT ANSWER OF DEFENDANTS FRESH START BEHAVIORAL HEALTH, INC.
          AND EBENEZER ALUMA TO PLAINTIFF’S COMPLAINT

       Defendants jointly answer Plaintiff’s Complaint as follows:

  1.    Defendants deny the allegations set forth in ¶¶ 1, 13, 19, 20, 21, 22, 23, 24, 25, 26, 28,

       33, 34, 35, 36, 37, 38, 44, 45, 46, 47, 50, 51, and 52 of Plaintiff’s Complaint.

  2.    Defendants admit the allegations set forth in ¶¶ 3, 4, 5, 14, 15, 16, 17, and 27 of

       Plaintiff’s Complaint.

  3.    Defendants deny the allegations contained in ¶ 2 of Plaintiff’s complaint due to lack of

       knowledge to admit or deny those allegations.

  4.    Defendants assert that ¶¶ 8, 9, 10, 11, 30, 31, 32, 40, 41, 42, 43, and 49 of Plaintiff’s

       Complaint state legal conclusions to which no response is necessary.

  5.    As to the allegations contained in ¶ 6 of Plaintiff’s Complaint, Defendants admit to

       hiring Ohio citizens, contracting with Ohio entities, and renting property in Ohio, and do

       not respond to the remaining allegations, as they call for a legal conclusion.

  6.    As to the allegations contained on ¶ 7 of Plaintiff’s Complaint, Defendants admit that

       Plaintiff worked in the District and deny the remaining allegations.
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    7.    As to the allegations contained in ¶ 12 of Plaintiff’s Complaint, Defendants admit that

         Fresh Start grossed more than $500,000.00 last year but deny the remaining allegations.

    8.    As to the allegations contained in ¶ 18 of Plaintiff’s Complaint, Defendants assert that

         Plaintiff was provided with timecards, and often reported her time on timecards, but often

         chose not to clock in or out on her timecard even though she was asked to do so.

    9.    As to the allegations contained in ¶ 29, 39 and 48 of Plaintiff’s Complaint, Defendants

         refer to the responses to the paragraphs referred to therein.

                                   AFFIRMATIVE DEFENSES

    10. Plaintiff is not entitled to relief as she has unclean hands.

    11. Plaintiff is not entitled to relief due to waiver and/or estoppel.

    WHEREFORE Defendants demands that Plaintiff’s Complaint be dismissed in its entirety

with all costs to be taxed to Plaintiff.

                                                Respectfully Submitted.


                                                s/ Gary A. Reeve
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                                                greeve@reevelaw.net


                                  CERTIFICATE OF SERVICE

         This is to certify that a true copy of Defendant’s Answer was served upon Plaintiff’s

counsel electronically through the ECF system this 3rd day of December, 2021.


                                                s/ Gary A. Reeve
                                                Gary A. Reeve
